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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 

STANLEY REDDEN, : CIVIL ACTION

 

 

Plaintiff,
v. : NO.
WALMART STORES EAST, LP, : IURY TRIAL DEMANDED
Defendant. '
COMPLAINT

Stanley Redden (“Plaintiff’) brings this lawsuit against Walmart Stores East, LP,
(“Walmart”), seeking all available relief under the F air Labor Standards Act (“FLSA”), 29
U.S.C. §§ 201, e_t W_., and the Pennsylvania Minimum Wage Act (“PMWA”), 43 P.S. §§
333.101, _e_t Yg;l

JURISDICTION AND VENUE

1. Jurisdiction over the FLSA claim is proper under 28 U.S.C. § 1331.

2. Jurisdiction over the PMWA claim is proper under 28 U.S.C. § 1367.

3. Venue is proper under 28 U.S.C. § 1391.

PARTIES
4. Plaintiff resides in Philadelphia, PA (Philadelphia County).

5. Walmart is a corporation headquartered in Bentonville, Arl<ansas.

 

l Plaintiff previously opted-in to an FLSA collective action pending in the United States District Court
for the Western District of Pennsylvania and styled Swank v. Wal-l\/lart Stores, lnc, (identified as
Walmart Stores East, LP, by Defendant), 2:13-cv-01185-MRH. On June 5, 2018, the SWanl< Court
denied Plaintiffs’ l\/lotion to “conditionally certify” the FLSA collective or certify a class under Rule
23(b). § SWank v. Wal-l\/lart Stores, Inc., 2018 U.S. Dist. LEXIS 94113 (W.D. Pa. June 5, 2018). On
September 18, 2018, the SWank Court entered an order clarifying that the legal claims of Plaintiff and
other Swank opt-ins, and the putative Rule 23 class members, Were dismissed Without prejudice to their
pursuit of individual lawsuits and that the running of the statute of limitations against their claims Was
tolled through September 18, 2018, § ECF No. 282.

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6. Walmart has employed individuals who, like Plaintiff, are engaged in interstate
commerce or in the production of goods for interstate commerce or engaged in handling,
receiving, selling, or otherwise working on goods or materials that have been moved in or

produced for interstate commerce.

w
7. Walmart owns and operates retail store in Allentown, PA and Kennett Square, PA
(“the stores”).
8. Walmart employed Plaintiff as an Assistant Store Manager (“ASM”) at the stores

from approximately July 2011 until approximately October 2013.

9. As an ASM, Plaintiff was directly and continually supervised by the stores’
higher-ranking managers

10. As an ASM, Plaintiff was required to follow detailed store and corporate policies
and directives that dictated virtually every aspect of Plaintiff’ s day-to-day work and precluded
Plaintiff from exercising discretion and independent judgment with respect to traditional
managerial duties or matters of significance

ll. As an ASM, the vast majority of Plaintiff’s work hours were spent performing
manual labor, servicing customers, and performing other non-managerial duties. Such duties
represented the principal and most important aspects of Plaintiff’ s job. Failure to perform such
duties could result in discipline and, eventually, termination

12. Walmart ostensibly paid Plaintiff a “salary” in the range of approximately
$42,500 to $45,000 per year.

13. Plaintiff’ s “salary” was not guaranteed

14. Plaintiff often worked well over 55-65 hours per week and, on numerous

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occasions, worked over 70 hours per Week.

15. Walmart did not maintain accurate records of Plaintiff’ s work hours.

16. Because Walmart deemed Plaintiff “exempt” from the FLSA’s and PMWA’s
overtime pay mandates, it did not pay Plaintiff any overtime premium compensation for hours
worked over 40 per week.

l7. Walmart’s classification of Plaintiff as overtime-exempt was not based on any
analysis or assessment of Plaintiff’ s actual work duties/activities

18. Plaintiff was non-exempt under the FLSA and Pl\/IWA.

QLNT_I
(Alleging Violations of the FLSA)

19. All previous paragraphs are incorporated as though fully set forth herein.

20. The FLSA entitles Plaintiff to overtime premium compensation equaling 150% of
Plaintiff’s regular pay rate for every hour worked over 40 per week. S_e_e 29 U.S.C. § 207(a)(1).

21. Walmart violated the FLSA by failing to pay Plaintiff overtime premium
compensation

22. ln violating the FLSA, Walmart acted willfully and with reckless disregard of the
FLSA.

COUNT II
(Alleging Violations of the PMWA)

23. All previous paragraphs are incorporated as though fully set forth herein.

24. The PMWA entitles Plaintiff to overtime premium pay equaling 150% of
Plaintiff’ s regular pay rate for every hour worked over 40 per week. §§§ 43 P.S. § 333.104(0).

25. Walmart violated the PMWA by failing to pay Plaintiff overtime premium

compensation

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PRAYER FOR RELIEF
Plaintiff seeks unpaid overtime wages, liquidated damages, prejudgment interest,
attorney’s fees, litigation costs and expenses, and such other and further relief as this Court
deems just and proper.
JURY TRIAL DEMAND

Plaintiff demands a jury trial.

Date: 'Sp(l\l UA'£L[ l j ’_ 20 l q Respectfully,

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